AO SL (Rev, HELE} Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

 

 

for the
Middle District of North Carolina ‘ welt goiter Coun
"an Greensboro, N.C,
United States of America }
v. )
} Case No rh) 4(, 7!
LIN CHENG
}
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 4, 2015 in the county of Orange in the
_ Middle —s Districtof North Carolina _, the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Section 1001(a)(2) False Statements

This criminal complaint is based on these facts:

(See attached Affidavit of Special Agent Patrick S. Berckmiller)

# Continued on the attached sheet. i,

Complainany’ ‘Ss signature

Patrick S. Berckmiller, Special Agent - FBI

Printed name and title

 

Sworn to before me and signed in my presence.

  

ODA ED
epee

hase’ 'S signature

   

City and state: Winston-Salem, NC Joi Elizabeth Peake, Magistrate Judge

Prinied name and title

 

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IN THE UNITED STATES DISTRICT COURT
FOR THRE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF A CRIMINAL Case No. //S M7 76 -/
COMPLAINT REGARDING
LIN CHENG

 

 

AFPPIDAVIT IN SUPPORT OF
AN APPLICATION FOR A COMPLAINT

 

1. I, Patrick S. Berckmiller, being first duly sworn,
hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

 

2. I am a Special Agent of the Federal Bureau of
Investigation (FBI) and have been so employed since November,
1998, Since March, 1999, affiant has been assigned to
investigate foreign counterintelligence and theft of trade
secrets crimes. Affiant received training from the FBI
regarding foreign counterintelligence and theft of trade
secrets, and has previously been involved in investigations
involving espionage, export violations, bank robbery,
kidnapping, fugitives from justice, white collar crimes and
computer crimes involving the theft of proprietary data. Most
recently, I have been involved in an investigation regarding the

theft of trade secrets. As a Federal Agent, I am authorized to

“investigate violations of laws: -of the United States and toc

execute warrants issued under the authority of the United

States.

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3, The facts in this affidavit come from my personal
observations, my training and experience, and information
obtained from other agents and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause
for the requested complaint and does not set forth all of my
knowledge about this matter.

4, Based on my training and experience and the facts as
set forth in this affidavit, there is probable cause to believe
that violations of 18 U.S.C. 88 1001(a) (2) have been committed
by Lin Cheng.

PROBABLE CAUSE
BACKGROUND OF LIN CHENG’S EMPLOYER

1. A United States based company [USC 1]+ maintains its
global headquarters and information technology operations in
Durham, North Carolina (NC). From November i7, 2008 until
October 1, 2014, Lin Cheng had been employed at [USC 1] with her
most recent position listed as a Scientist. Specifically, Lin
Cheng was the engineering manager for [Use li’s fourth
generation of [TECHNOLOGY i].

2. On or about September 4, 2014, [USC i] informed the

Federal Bureau of Investigation that, on or about August 27,

2014, Lin Cheng emailed a file containing [USC 1]’s proprietary |

information from her work email at [USC 1] to email account

 

* In an effort to protect the identity of the victim company, its name has heen withheld and is
referred to as [USC 1}.

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nextgen0410e@gmail.com. The file, titled [EXPORT FILE]* contained

 

[USC i} trade secrets; specifically the step-by-step process
[USC i] uses to manufacture its [TECHNOLOGY 1].

3. According to Lin Cheng’s immediate supervisor and
other witnesses, [TECHNOLOGY 1} is the flagship product of a
portion of [USC 1]’'s business. Regarding the [EXPORT FILE] Lin
Cheng sent from her work email to email account

nextgend0410@gmail.com, Lin Cheng’s supervisor and other [USC 11

 

employees estimated, that the information on [EXPORT FILE] would
be worth in excess of $1 million. This transfer would allow the
company to directly compete with [USC 1] in the current market.
Additionally, [USC 1]'s supervisor and other [USC 1] employees
determined that the proprietary and confidential files which
were removed by Lin Cheng from the control of [USC 1] would
cause both financial damage and technological loss to {USC i}.

LIN CHENG’S CONTACT WITH [SUBJECT 2]°

 

4, The following information was discovered as a result
of reviewing Lin Cheng’s email account at [USC 1] and search
warrant returns were issued on September 23, 2014 in the Middle
District of North Carolina on Google. This warrant was for

information pertaining to email account nextgen0410@gmail.com

 

from the dates of January 1, 2013 to September 23, 2014. On or

 

* In an effort to protect the identity of the victim company, this file type is known within the

company structure and is referred to as an [EXPORT FILE].

In an effort to protect the identity of the victim company, the second subject's name has been
withheld and is referred to as [SUBJECT 2}.

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about July 28, 2014, Lin Cheng received an email via LinkedIn

from an individual who identified himself/herself as [SUBJECT

2], Chief Executive Officer (CEO) of Super Legend Holdings
Limited. [SUBJECT 2]’s email to Lin Cheng included the
following:

Dear Lin Cheng;

I am currently cooking a new venture of [TECHNOLOGY 1] /
Process in China. The first phase is RMB 1 billion and
goes to 2 billions for the 2™ phase. Please let me know if
you are interested in this project.

5. On or about August 5, 2014, Lin Cheng used email

account nextgen0410@gmail.com to send the following email to

 

aresfang@foxmail.com:

 

Dear [SUBJECT 2],

This is Lin Cheng. Thank you for your kind email to me

through Linkedin. Can you please help me understand your

proposal on the [TECHNOLOGY 1] Project in more details?

6. On or about August 5, 2014 through August 6, 2014,
[SUBJECT 2] and Lin Cheng continued to exchange emails, which
included the following excerpts:

Lin Cheng:

The project sounds interesting at this level. What would

be your projected timeline and organization at this point?

[SUBJECT 2]:

It is planned that the project can be kicked off by the end

of this year .. it will be perfect if you are interested on _

it too.

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Lin Cheng:

Io am interested in any good [TECHNOLOGY 1] project. I
would like to know what you are expecting from me and what
kind of other expertise you have gathered so far.

[SUBJECT 2]:

I would like to invite you to join the project as the TD VP
at the beginning of the project and move to RD VP for
developing new devices once the production line starts..I
would try to match the net income as you do in the US,
stock option and other fringe benefits. Most of all it
reveals the opportunity for you to contribute to your home
country. There will be no ceiling effect in the home
country. We all know this, right?

7, On or about August 11, 2014, [SUBJECT 2] and Lin Cheng

continued to exchange emails, which included the following

excerpts:
Lin Cheng:
Thanks for your invitation again. I am still checking with
our legal person about a non-compete agreement that I have
with my current employer. Therefore I can’t make any
commitment to you now. If you don’t mind, can you please

keep me updated with your project progress? I will let
know when I hear back from our legal person.

[SUBJECT 2]:

Thanks for your honest. Of course, I never broke any law
in any country. However, there are a few ways to avoid the
infringement in a legal way. For instance, there is a

common practice in the [TECHNOLOGY 1] industry now, that
the designated person will be hired by a OBU paper company
instead of a project company for a certain period of time

until the bondage period is over. For your information, —__

there is one of your current colleague is likely join the
project . . . Of course, I would need to go over your CV
before final decision. Can I have your correspondences of

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WeChat and Mobile Phone for the cases of short and urgent
communication?

8. On or about August 12, 2014, Lin Cheng told a [usc 1]
executive that an individual named [SUBJECT 2] had contacted
him/her via LinkedIn and offered him/her a job in the
[TECHNOLOGY i] field. Lin Cheng also used her work email
account at [USC 1] to forward to the [USC 1] executive five
emails dated August 5, 2014 through August 11, 2014. However,
the emails Lin Cheng gave [USC 1] included references to topics
net reflected in the emails Lin Cheng provided. The
investigation determined that Lin Cheng edited the emails which
were provided to [USC 1] and did not reflect all of the content
of the communications between Lin Cheng and [SUBJECT 2]. An
example of the differences between these emails is as follows:
The investigation determined that lin Cheng did not provide
three of the eight email communications that had taken place
between Lin Cheng and [SUBJECT 2], and of the five email
communications Lin Cheng provided te [USC 1], four of the email
communications had been edited and did not reflect all of the
content of the communications between Lin Cheng and [SUBJECT 2].
For exampie, four lines of text (crossed out below) were removed

from the communication Lin Cheng gave to [USC 1]:

Thanks for your honest. O£ course, I never broke any law

in any country. However, there are a few ways to avoid the
infringement in a legal way. For—instance,—_there--is—a

    

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until —the—_bendage—_periced—_is—_eover. For your information,
there is one of your current colleague is likely join the
project tee . . . Of course, I would need to go over your
CV before final decision. Can I have your correspondences
of WeChat and Mobile Phone for the cases of short and
urgent communication?

9. Additionally, [USC 1] determined that Lin Cheng never
consulted with the [USC 1]’s legal department in regards to Lin
Cheng’s non~compete agreement at [USC 1].

10. On or about August 27, 2014 at 6:44 p.m., Lin Cheng
emailed the [EXPORT FILE] which is a trade secret of [usc 1]
from her work email account at [USC 1] to email account

nextgen0410@qmail.com.

 

11. On or about September 13, 2014 at 8:02 p.m.

nextgen0410@qmail.com received an. email from

 

aresfang@foxmail.com, subject “[TECHNOLOGY 1].” The email

 

included the following:
Dear Lin Cheng;

The funding of the [TECHNOLOGY 1] project is much more
smooth then it was expected . . . if you are not coming
back to China or Shanghai in the near future, I need to
have a conference call with you at your early convenience

» . dit will be my great pleasure if you can join the

 

project.

12. On September 20, 2014 at 7:22 p.m.
Bextgendéidegmail.com received == an. email from
aresfang@foxmail.com, subject “ [TECHNOLOGY 1)”. The email

 

inciuded the following:

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Dear Lin Cheng;

I wonder if you did receive my e-mail sent to you on Sept.
14. The [TECHNOLOGY 1] Project in China is going much
better than it was expected . . . Can you let me know your
firm intention at this moment? We can work on the solution
to project you from the legal infringement if you have firm
intention,

LIN CHENG’S THEFT OF TRADE SECRETS FROM [USC 1]

 

13. [USC 1] reviewed logs of Lin Cheng’s computer activity
and discovered Lin Cheng had used her work laptop to download
mere than 16,000 files from [USC l1]’s servers. iUSC 1] also
discovered that, om or about August 27, 2014 at 6:44 p.m., Lin
Cheng emailed the [EXPORT FILE] from her work email account at

[USC 1] to email account nextgen0410@gmail.com.

 

LIN CHENG’S USE OF EMAIL ACCOUNT NEXTGENO0410@GMAIL.COM

14. A search warrant was issued on September 23, 2014 in
the Middle District of North Carolina on Google. This warrant
was for information pertaining to email account

nextgen041l0@gmaii.com from the dates of January 1, 2013 to

 

September 23, 2014. The following additional information was
discovered as a result of the search warrant. Email account

nextgen0410@gmail.com was created on or about April 24, 2013 at

 

4:57 p.m. The telephone number linked to the account is 919-
599-5086, which I know from this investigation to be Lin Cheng’s
cellular telephone number. A review of email account

nextgen041l0@gmail.com revealed Lin Cheng used it: as a

 

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repository for [USC 1] proprietary information forwarded from
her work email account; to communicate with [SUBJECT 21]; and to
communicate with a New York based book publisher. However, Lin

Cheng’s nextgen0410@gmail.com account was primarily used by Lin

 

Cheng to communicate with [SUBJECT 3]*.

15. [SUBJECT 3] is a former [USC 1] employee who currently
works for the UNITED STATES Government. There were only nine
contacts listed in the address book of Lin Cheng’ s

nextgend41l0@gmail.com email account. These included three

 

contacts affiliated with Lin Cheng's email addresses:

salindal8@yahoo.com, work email account at [usc i], and
icfjlinda@gmail.com. [USC i] advised that salindal8@yahoo.com
email account belongs to Lin Cheng. A review of Lin Cheng’s

email account at [USC 1] found an email sent to Lin Cheng on or

about April 12, 2014 at 8:33 p.m. from yahoo-account-services-

 

 

us@cc.yahoo.co-inc.com. The message advised Lin Cheng that
“Your Yahoo ID is: salindai®é. The password for your Yahoo ID
was recently changed.” A review of [USC 1]'s email account at

[usc 1] determined that Lin Cheng used email account
lefjlinda@gmail.com to communicate with [USC 1] between the
dates of October 8, 2014 and October 29, 2014. There was one
unknown contact with email address infinity345@yahoo.com, There |

were two contacts affiliated with fSUBJECT 2]:

 

4 . : tos .
In an effort to protect the identity of the victim company, the United States Government
employee's name has been withheld and is referred to as [SUBJECT 3].

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aresfang@foxmail.com and aresfang@gmail.com. There were three
contacts affiliated with [SUBJECT 3]: [SUBJECT 3]@xx.xxx.gov,
[SUBJECT 3] @xx.xxx.gov and 202779XXXX@vtext.com. The telephone
number 202-779-XXXX, which I know from this investigation to be
the cellular telephone number of the user of [SUBJECT 3].

16. On April 24, 2013 at 5:00 p.m., three minutes after

creating the email account, Lin Cheng used nextgen0410@qmail.com

 

to send an email to [SUBSECT 3]. The email stated:
Hi [SUBJECT 3],
Hope all are excellent with you over DC. Just test if my
personal email can get through your [xx.xxx.GOV] server.
Thanks.
{initials]
17. On April 24, 2013 at 6:22 p.m. email account of

[SUBJECT 3] responded to email account nextgen0410@qmail.com

 

with the following:
Excellent. It came through just fine. Thank you. I like
nextgen - creative!! briefing went really well. Now
rushing to catch the train.
[SUBJECT 3]

18. As mentioned above, Lin Cheng used the

nextgen04i0@gmail.com account as a repository for [USC 1]

 

proprietary information she forwarded, without authorization,

from her work email account. Many of the emails sent from [USC |

i]’s work email account to the nextgend41l0@qmail.com email

 

account, including the August 27, 2014 email with the [EXPORT

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FILE], included the following [USC 1] proprietary warning
reminder in the body of the email:

This e-mail message, including any attachments and previous
email messages sent with it, contains CONFIDENTIAL and
PROPRIETARY information of [USC 1] or its subsidiaries and
may be legally PRIVILEGED. You may not use, disclose,
reproduce or distribute such information without [USC 1]’s
authorization. If you have received this message in error,
please notify the sender immediately and permanently delete
the original message, its attachments, and any copies
thereof.

19. Lin Cheng sent [USC 1] proprietary information from

her work email account at [USC 1] to the nextgen0410@gmail.com

 

email account on the following dates and times:

Aprii 1, 2014 1:03 p.m.
April 26, 2014 1:35 p.m.
April 28 2014 8:49 p.m.
May 26, 2014 6:46 p.m.
August 3, 2014 4:39 p.m.
August 3, 2014 4:40 p.m.
August 27, 2014 6:44 p.m.

20. Lin Cheng also used the nextgen@0410@qmail.com account

 

co send proprietary [USC 1] information to [SUBJECT 31's email
account [SUBJECT 3] @xx.xxx.gov.

41. On or about May 14, 2013 at 8:43 a.m., Lin Cheng’s
work omedt account ak {use 1] sent an email to

nextgen0410@gmail.com. On or about May 14, 2013 at 8:56 a.m.,

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Lin Cheng used the nextgen0410@gmail.com email account to remove
the [USC 1] proprietary information warning and one of the two
attachments, and forwarded the email to [SUBJECT 3]@xx.xxx.gov.
Each page of the 38-page attachment was marked “Confidential.”
On or about May 14, 2013 at 11:36 a.m. [SUBJECT 3] @xx.xxx.gov
responded to the email from nextgen0410@gmail.com with “Thanks
much.”

22. Lin Cheng sent additional [usc i] proprietary

information to [SUBJECT 3]@xx.xxx.gov on the following date and

time:

September 11, 2013 11:38 a.m.

23. According to [USC 1], Lin Cheng was not authorized ta
send proprietary ius¢c 1] information to the user of

[SUBJECT3] @xx.xxx.gov and the user of [SUBJECT 3] @xx.xxx.gov was

 

not authorized to receive proprietary [USC 1] information.

LIN CHENG'’S ACKNOWLEDGEMENT OF PROTECTING TRADE SECRETS
AND PROPRIETARY INFORMATION OWNED BY [USC 1]

 

24. On November 17, 2008, Lin Cheng signed the [usc 1}
“Employee Agreement Regarding Confidential Information,
Intellectual Property and Noncompetition,” which states:

Iounderstand that during my employment I may have access to

nonpublic or otherwise confidential information relating to

the Company..Such information, whether of a technical or
non-technical nature, is referred to below as “Confidential

Information."

- ». ». Oh termination of my employment with the Company for
any reason, I will promptly deliver to the Company all

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Company documents, records, files, notebooks, manuals,

letters, notes, reports, customer and supplier lists, cost

and profit data, apparatus, drawings, blueprints, and any
other material of the Company, including all materials
pertaining to Confidential information

25. On August 13, 2013, Lin Cheng also signed a
certification that she had reviewed the current [USC 1] Code of
Conduct located on [USC 1]’s computer network. fusc  l]’s
Signature also certified to the statement “I understand that the
Code of Conduct applies to me as an employee and I will conduct
myself in accordance with the Code.”

26. On November 14, 2014, a [USC 1] manager advised that
she oversaw the implementation of [USC 1]’s High Security
Environment (HSE). The HSE was designed as a repository for the
most valuable files owned by [USC 1] which included [EXPORT
FILES]. The HSE allows access to files, but in a read only
format. The HSE was designed to be fully implemented on or about
September 17, 2014. The additional protection given to access
the HSE included a second RSA key token for remote access after
initial logon is successful to the [USC 1] network with the
first RSA key token. Prior to the implementation of the HSE
[USC 1] also had badge access restrictions in place to control
physical access of employees at building entrances and within
_ buildings to various areas. Additionally, the network of [USC
1) has restrictions based on the employee’s role at [USC 1].

Not every employee had access to all parts of the [USC 1]

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network. Further, the protections were in place to prevent
public access to proprietary files and [TECHNOLOGY 1]. On or
about April 11, 2014, this [USC 1} manager had an in-person
meeting with Lin Cheng and discussed the protection of [EXPORT
FILES] as they were scheduled to be moved into the HSE. The HSE
was implemented in phases and this meeting discussed this
particular phase. Lin Cheng expressed an understanding as to
why the [EXPORT FILES] needed to be moved into the HSE, On or
about June 17, 2014, this [USC 1] manager sent an email to Lin
Cheng including instructions to move [EXPORT FILES] in order to
facilitate the transition to the HSE which restricted access
even further to the most valuable data which [USC 1] sought to
protect. Tt was determined that Lin Cheng failed to move 14
such files as requested.

After the implementation of placing the [EXPORT FILES] into
the HSE, this same [USC 1} manager sat down personally with Lin
Cheng after Lin Cheng returned from travel to make sure the HSE
was properly working for Lin Cheng to do her job. This [USC 1]
Manager recalled that the logon process worked on the first
attempt with Lin Cheng. This [USC 1] manager reviewed [USC 1]

computer logs and determined that Lin Cheng accessed the HSE on

six occasions between August 19, 2014 and September 9, 2014. On

or about September 17, 2014, the [USC 1] network was scanned

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again and all remaining [EXPORT FILES] on the network were found
and moved.

LIN CHENG’S SUSPENSION AND TERMINATION FROM [USC 1]

27. On or about September 12, 2014, Lin Cheng was
Suspended from [USC 1]. [USC 1] took possession of Lin Cheng’s
badge access card to [USC 1] facilities, laptop computer, remote
access RSA key tokens and [USC 1] credit card.

28. On or about September 12, 2014, Lin Cheng used

nextqent410@gmail.com to inform the user of [SUBJECT

 

3]@xx.xxx.gov via email that she had been suspended from [usc
Lj. The subject line of the first email was “URGENT!!!” The
following are excerpts from the emails exchanged that day:

Lin Cheng:

Have to cancel the ECCE trip. I am in a big trouble. Can
you call me when you can?

[SUBJECT 3] @xx.xxx.gov:

Io cant call but tell me briefly what the problem is?
Lin Cheng:

Can I text you?

[SUBJHCT 3] @xx.xxx.gov:

I am home...Just write something short.

[SUBJECT 3] @xx.xxx.gov:

Just send me a short email. Be vague.

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that

8

>48

Lin Cheng:

I may need your help to find a job in a few weeks or so. I
am currently suspended with a shock. The IS complained
that I have too many files saved on my laptop. I explained
that I copied them for myself to work at home and during a
travel. They said that was against company’s policy and
they need to check all the files. If everything is okay, I
can go back to work. But now, I can’t access to any
company’s facility. [initials] took all my identities. I
told that I never did anything against the company. I am
very very sad about this.

[SUBJECT 3]@xx.xxx.gov:

Don’t worry!t! [usc 1} is like this. Hope they don’t track
anything that u sent to me!!

Lin Cheng:

Shouldn’t. We didn’t say bad thing but exchange mostly
technical opinions as professionals. So don’t worry. I
guess that They probably “worry” if I sent anything to
China, which I never ever did anything.

[SUBJECT 3]@xx.xxx.gov:

They will check ur emails

Lin Cheng:

But not personal emails, right?

[SUBJECT 3] @xx.xxx.gov:

They can’t unless u give them ur gmail password.

29, That same day, on or about September 12, 2014 at 8:01

nextgen0410@gmail.com received a notification .from Google

 

the account’s password had recently been changed.

30. Later that same day, or about September 12, 2014 at

p.m., Lin Cheng used the nextgen0410@qmail.com email

 

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account to forward the [USC 1] [EXPORT FILE] to email account

salindal8@yahoo.com, which I know from this investigation to be

 

another email account used by Lin Cheng. The email forwarded

from nextgen04l0@gmail.com to salindalS@yahoo.com still had the

 

 

[USC 1] proprietary warning reminder, as previously detailed
above. A review of USB electronic storage media returned to [USC
i] by Lin Cheng also found an additional 74 [EXPORT FILES] which
are trade secrets owned by [USC i}.

32. On or about September 17, 2014, Lin Cheng was asked by
[USC1] company officials to return any USB drives that Lin Cheng
had plugged into [USCi] computers. On September 17, 2014, Lin
Cheng arrived at [USC 1] and returned six USB drives from Lin
Cheng’s home or another location outside of [USC 1] controlled
space. Lin Cheng texted a [USC 1] employee and indicated, “I
am taking all the USB drives that I can find at home to Building
16 now. Will take me about 20mins to get there. Will you be
there then...” A forensic review confirmed that all six of these
USB drives were connected to Lin Cheng’s assigned laptop
computer owned by [USCi] .

32. On September 18, 2014, a [USC1] executive had further
communication with Lin Cheng via text messaging, requesting Lin
Cheng to return a SanDisk Cruzer USB drive which was identified
as being connected to Lin Cheng’s issued Deli E6230 laptop

computer in the August/September 2014 timeframe.

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33. On or about September 22, 2014, Lin Cheng returned an
additional USB drive to [USC 1], identified as a SanDisk Cruzer
Blade. A forensic review determined that this USB drive was not
connected to either of Lin Cheng’s assigned [USC1] computers.

34. On or about October 1, 2014, [USC 2] terminated Lin
Cheng’s employment based on her having transferred confidential
and proprietary information belonging to the company to devices
owned or controlled by Lin Cheng and not accessible by [USC 1]
and for engaging in other violations of company policies and
procedures related to [USC I1]’s proprietary information and
trade secrets. Lin Cheng was asked by [USC 1] company officials
to return four specific USB drives, including one USB drive
which was plugged into an Apple product. Lin Cheng stated that
she did not own an Apple computer, but her spouse may have two
USB drives and may have used them for a church sermon. Lin
Cheng was provided a letter in person on October 1, 2014. The
content of this letter is as follows:

Dear Lin Cheng:

[USC 1] has learned that you have transferred confidential

and proprietary information belonging to the company to

devices owned or controlled by you and not accessible by

[usc 1] and have engaged in other violations of company

policies and procedures relating to [USC 1]’'s proprietary

information and trade secrets. [USC 1] hereby demands that
you immediately turn over to [USC 1] any and all storage or

other devices onto which you have transferred [USC 1]‘s

property, return to [USC 1] any documents or other property
in your possession and provide [USC 1] with all information

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needed to access any account, service or other location
where you have stored company assets.

If you do not immediately comply with [USC 1]’s demands by

returning and/or providing [USC 1] access to and control of

[usc 1] property you have misappropriated, the company

intends to pursue all available civil and legal remedies

and recourse against you.

35. As a result of a search warrant to Google,
Incorporated, it was learned that later that same day, on

October 1, 2014 at 2:13 p.m., the email account

nextgqen041l0@aqmail.com was deleted.

 

36. After being terminated from employment at [USC 1], Lin
Cheng utilized email and text messages to communicate. On or

about October 7, 2014, Lin Cheng communicated with an executive

employee of [USC 1] via text messages. The screenshots of these
text messages were affiliated with email account
lefilinda@gqmail.com, Lin Cheng also utilized the email account

 

icfjlinda@gmail.com between October 8, 2014 and October 29, 2014

 

in order to communicate with [USC 1].

37. On or about October 68, 2014, [USC 1]'s executives
iearned that, on or about June 10, 2014, Lin Cheng, without [usc
ij’s authorization, had signed a contract with Nova Publishing
to write a book on the topic of Lin Cheng’s area of expertise.

Due to the nature of the topic having been gained with

additional experience from [USC 1], the book would not have been ~—~

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approved if Lin Cheng had sought the required authorization from
[USC 1].

LIN CHENG’S INSTRUCTIONS TO [SUBJECT 3] TO DELETE EMAILS

38. On or about July 3, 2013, Lin Cheng sent a message to
the user of [SUBJECT 3] @xx.xxx.gov:

Sorry cee Please also empty your trash folder,
Additionally, on or about January 6, 2014, Lin Cheng sent a
message to the user of [SUBJECT 3] @xx.xxx.gov:

Okay. Still a little bit.. will talk at 4pm. Already
deleted all the emails.

LIN CHENG’S USE OF FLASH MEDIA AND EXTERNAL STORAGE DEVICES

39. On or about August 7, 2013 a new laptop computer was
issued by [USC 1] to Lin Cheng. This computer was identified by
[usc 1] as a Deil Latitude E6230 with an affixed [USC 1] barcode
O56CPU.

40. On or about November 10, 2013, Lin Cheng requested an
encrypted USB drive, The standard issue from [USC 1] is a
Kingston Data Traveler which would have been issued within a few
days of Lin Cheng’s request. This is the only authorized USB
drive at [USC 1] and is owned by [USC 1].

41. On or about September 12, 2014, Lin Cheng was
suspended from [USC 1] with no access to company facilities.

[USC1] retained Lin Cheng’s Dell Latitude £6230 laptop computer,

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leaving Lin Cheng with no access to electronic devices owned by
(usc i] in order to communicate.
42. A white Verbatim brand 4GB flash USB drive labeled

“IPEC’ that was provided by Lin Cheng to [USCi] on September 17,

2014 was forensically reviewed on November 19, 2014. This
device contained two hidden directories named “.trashes” and
“.spotlight.” Based on my training and experience, the presence

of these hidden directories indicates that the device had been
plugged into a computer running an Operating System created by
Apple, Inc.®

43. The forensic review also determined that the following
items were connected to Lin Cheng’s laptop computer owned by
iusc 1]. These items are unaccounted for and are not in the
possession of [USC 1] or the FBI: USB flash drives, cellular
telephones, and external portable hard drives.

44. A forensic review identified approximately 50 unigue
USB devices having been connected to either the [USC 1] desktop
computer, the [USC 1] laptop, or both. The FEIT has identified

six of the 50 evidence items in their possession. Of the

remaining 44, approximately 28 USB devices were found to be

 

° A hidden directory is a directory that is not normally visible when

examining the contents of the directory in which is resides.

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affiliated with the laptop, approximately 20 USB devices were
found to be affiliated with the desktop computer, and four were
identified as having been connected to both machines.

45. The forensic review also identified 130 files on flash
media provided by Lin Cheng to [USC 1] which were marked as
confidential or proprietary and are the property of [USC 1]. An
additional 74 files were confirmed as [EXPORT FILES] and contain
recipe information for [USC 1] products. [USC 1] identified
these files as trade secrets and are the property of [USC 1].

46. As of February 23, 2015, Lin Cheng has not returned to
[USC 1] any additional property or files that have been taken
from [USC 1].

47. The investigation determined that Lin Cheng departed
the United States on December 27, 2014 with a destination of
Beijing Capital International Airport, The People’s Republic of
China. Lin Cheng arrived back in the United States on January
8, 2015 from Pu Dong, Shanghai, The People’s Republic of China.

48. On or about February 19, 2015, the email address

salindal8@yahoo.com was reviewed pursuant to a search warrant

 

returned with negative results for the previously identified

forwarded email from nextgen041l0@gmail.com of the [TECHNOLOGY 1]

 

files. Based upon training and experience, the email was
@eleted, forwarded to another email address, or transferred to

an electronic storage media and then deleted.

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49. As a result of the investigation, a criminal search
warrant was executed on March 4, 2015 at Lin Cheng’s residence
of 103 S. Crabtree Knolls, Chapel Hill, North Carolina 27514.
Cheng agreed to a voluntary interview with FBI Special Agent

Patrick Berckmiller and Department of Energy Special Agent Kevin

Gordon. Cheng agreed to have the interview recorded with an
audio device. Cheng was advised of the identity of the
interviewing agents. Cheng was also advised that she needed to

be truthful during the interview and could be prosecuted if she
provided false information. Cheng acknowledged an understanding
to this statement.

FALSE STATEMENT ONE

 

50. During the interview, Cheng was specifically asked “Do
you have any information that still belongs to [USC 1]?”" Cheng
responded “Hmmm, well published paper as I said. I keep some
copies and pretty much that and some meeting slides you know.”
During the course of the search, a box with the word “[USC 1)”
in blue letters was found in plain view in Cheng’s bedroom next
to her packed luggage. Cheng also disclosed during the
interview that she was scheduled to depart to Purdue University
on a flight at about 9:40am. Upen opening the box, there were
two sealed bags also identified with [USC i] markings which
contained a total of 11 parts. On March 4, 2015, Special

Agent Patrick Berckmiller and Special Agent Kevin Gordon took

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this box of 11 parts and showed them to [USC 1] Company
officials. These officials determined that these items are the
property of [USC 1] or clients of [USC 1] and were valued in
excess of several thousands of dollars. Further these parts
should not be located within the residence of Lin Cheng.

5i. On March 4, 2015, a computer preview was conducted of
Lin Cheng’s Toshiba laptop during the search of Cheng’s
residence. During this preview, it was determined that the
computer’s hard drive contained the [EXPORT FILE] which has
previously been identified as a trade secret.

FALSE STATEMENT TWO

 

52. During the interview of Lin Cheng on March 4, 2015,
she was asked regarding her communication with [SUBJECT 2],
“And you reported again all that information to [USC 1
Executive]? Cheng responded “To [USC 1 Executive], to [USC 1
Executive]"”. Question: “So he knew everything?” Cheng: “yeah”
Question: “that was going on between you and [SUBJECT 2] is that
correct?” Cheng: “Right, right, right” Question: “all the
communications? Cheng: “Right, right, right, right.”

53. [USC 1 Executive] confirmed that he was not provided

all or complete communications between Cheng and [SUBJECT 2).

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FALSE STATEMENT THREE

54. During the interview of Cheng on March 4, 2015, Cheng
stated “I did everything for the werk and I wouldn’t never ever

transfer or tell any information to the external people outside

of [use 1].”

55. Based on the forgoing, I request that the Court issue

the proposed arrest warrant.

Respectfully submitted,

  

Patrick gs. Berckmiller =
Special Agent

Federal Bureau of
Investigation

Subscribed and a to before pn

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JOT gutzasehe PEAKE
UNITED STATES MAGISTRATE JUDGE
MIDDLE DISTRICT OF NORTH CAROLINA

  

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